      Case 2:15-cr-00138-SMJ     ECF No. 136    filed 07/07/16   PageID.331 Page 1 of 3




1
                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON
2
                                                                        Jul 07, 2016
3                        UNITED STATES DISTRICT COURT                      SEAN F. MCAVOY, CLERK
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 2:15-CR-0138-SMJ-04
5
                               Plaintiff,
6                                               ORDER GRANTING MOTION TO
                  v.                            SEVER TRIAL
7
     VICTOR JOSE RUIZ-MARQUEZ
8    (04),

9                              Defendant.

10

11         Before the Court, with oral argument, is Defendant Ruiz-Marquez’s Motion

12   to Sever, ECF No. 126. The Defendant asks the Court to sever trial in this matter

13   from trial of his co-defendants.

14         Defendant argues that the trial should be severed from the co-defendants

15   because there is a danger that the jury will convict him based on his presence in an

16   apartment where drugs were found and his association with the three co-

17   defendants. Further, Defendant Ruiz-Marquez is concerned that trying the

18   Defendant with the three co-defendants may prevent him from utilizing

19   exculpatory evidence and testimony from his co-defendants as part of his defense.

20



     ORDER - 1
      Case 2:15-cr-00138-SMJ     ECF No. 136    filed 07/07/16   PageID.332 Page 2 of 3




1          The USAO contends that the Defendant’s motion is premature, speculative,

2    and does not demonstrate undue prejudice. Specifically, they argue that Defendant

3    fails to address what “exculpatory” evidence he would be denied from utilizing at

4    trial or how a jury could not differentiate and understand the specific evidence

5    against him and any remaining co-defendants. USAO argues the Defendant also

6    neglects to explain how this Court’s limiting instructions, at trial, could not cure

7    any possible concerns.

8          Where two or more defendants are joined for trial, a defendant may move

9    for severance under Fed. R. Crim. P. 14, which provides: “If it appears that a

10   defendant or the government is prejudiced by a joinder of offenses or of

11   defendants in an indictment or information or by such joinder for trial together,

12   the court may order an election or separate trials of counts, grant a severance of

13   defendants or provide whatever other relief justice requires.” Severance for

14   prejudicial joinder under Rule 14 is discretionary. See, e.g., United States v. Lutz,

15   621 F.2d 940 (9th Cir. 1980). If it appears that a defendant is prejudiced by joinder

16   of defendants in an indictment or by joinder for trial together, the Court may grant

17   a severance or provide whatever other relief justice requires. See, e.g., United

18   States v. Escalante, 637 F.2d 1197, 1201 (9th Cir. 1980).

19         The Court finds good cause to grant the motion. Defendant suggests, among

20   other reasons, that he may want to call co-defendants as witnesses at trial. This




     ORDER - 2
       Case 2:15-cr-00138-SMJ                           ECF No. 136                filed 07/07/16   PageID.333 Page 3 of 3




1    reason alone warrants a severance as Defendant would undoubtedly be prejudiced

2    if he were not able to call key witnesses due to their 5th Amendment privileges.

3               Accordingly, IT IS HEREBY ORDERED: Defendant Ruiz-Marquez’s

4    Motion to Sever, ECF No. 126, is GRANTED.

5               IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

6    and provide copies to all counsel.

7               DATED this 7th day of July 2016.

8

9                                       SALVADOR MENDOZA, JR.
                                        United States District Judge
10

11

12

13

14

15

16

17

18

19

20


     Q:\SMJ\Criminal\2015\USA v Rodriguez (sealed)-0138\Ord grant sever lc2 docx


     ORDER - 3
